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   4 Email:        amcdow@foley.com                                                     MAY 15 2019
   5 [Proposed] Attorneys for Debtors and Debtors in
     Possession, Scoobeez, Scoobeez Global, Inc. and                               CLERK U.S. BANKRUPTCY COURT
                                                                                   Central District of California
   6 Scoobur, LLC                                                                  BY kaaumoanDEPUTY CLERK


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   8                                 UNITED STATES BANKRUPTCY COURT
   9                                   CENTRAL DISTRICT OF CALIFORNIA
  10                                            LOS ANGELES DIVISION
  11
        In re                                                      Case Nos.: 2:19-bk-14989; 2:19-bk-14991;
  12                                                               2:19-bk-14997
        SCOOBEEZ, et al.1
  13                                                               Chapter 11
                      Debtors and Debtors in
  14                  Possession.                                  ORDER GRANTING IN PART AND
                                                                   DENYING IN PART THE DEBTORS’
  15    _____________________________________                      EMERGENCY MOTION FOR ORDER
                                                                   AUTHORIZING (1) THE PAYMENT OF
  16    Affects:                                                   PREPETITION WAGES, (2) THE
                                                                   CONTINUATION OF EMPLOYEE
  17    ■ All Debtors                                              PROGRAMS POSTPETITION, (3) THE
                                                                   WITHHOLDING AND PAYMENT OF
  18    □ Scoobeez, ONLY                                           PAYROLL RELATED TAXES, AND (4)
                                                                   THE PAYMENT OF PREPETITION
  19    □ Scoobeez Global, Inc., ONLY                              CLAIMS RELATING TO EMPLOYEE
                                                                   PROGRAMS
  20    □ Scoober LLC, ONLY
                                                                   Hearing:
  21                                                               Date: May 1, 2019
                                                                   Time: 3:00 p.m.
  22                                                               Place: Courtroom 1375
                                                                           U.S. Bankruptcy Court
  23                                                                       255 East Temple Street
                                                                            Los Angeles, CA 90012
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         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
  28    Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
        Boulevard, Glendale, California 91214.

                                     ORDER GRANTING EMERGENCY MOTION TO AUTHORIZE PAYMENT OF PREPETITION WAGES
4827-7446-9525.3
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   1               On May 1, 2019, the Emergency Motion for Order Authorizing (1) the Payment of
   2    Prepetition Wages, (2) the Continuation of Employee Programs Postpetition, (3) the Withholding
   3    and Payment of Payroll Related Taxes, and (4) the Payment of Prepetition Claims Relating to
   4    Employee Programs (the “Motion”) filed by Scoobeez, Scoobeez Global, Inc., and Scoobur,
   5    LLC, the debtors and debtors in possession (the “Debtors”) in the above-captioned bankruptcy
   6    cases (the “Bankruptcy Cases”), came on for hearing in the above-referenced court, the
   7    Honorable Julia W. Brand presiding. Appearances were made as stated on the record.
   8               Having reviewed and considered the Motion and all pleadings and papers filed in support
   9    thereof, having heard and considered the arguments of counsel made at the hearing, having found
  10    that notice of the Motion was adequate and appropriate under the circumstances and that no
  11    further notice need be given, and finding good cause appearing therefor,
  12               IT IS HEREBY ORDERED that:
  13               1.     The Motion is granted in part and denied in part pursuant subject to the provisions
  14                      of this order;
  15               2.     In connection with the submission of a supplemental declaration attaching a
  16                      payroll report itemizing the wage-related expenses to be paid on a per employee
  17                      basis (Docket No. 24), the Debtors are authorized, but not required, to pay,
  18                      continue, or otherwise honor the pre-petition payroll obligations of non-insider
  19                      employees (the “Employees”) in an amount not to exceed $12,850.00 for each of
  20                      the Employees and including premiums due for worker’s compensation and
  21                      employer and employee federal, state and local tax obligations in amount not to
  22                      exceed a total of nine hundred fifty thousand dollars and zero cents ($950,000.00)
  23                      in the aggregate (collectively, the “Prepetition Obligations”);
  24               3.     The Debtors are authorized to pay and/or withhold for any and all local, state, and
  25                      federal withholding and payroll-related or similar taxes related to the Prepetition
  26                      Obligations;
  27               4.     In connection with the submission of itemized receipts, the Debtors are authorized
  28                      to pay any and all reasonable unreimbursed business expenses of the Employees;

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                                    ORDER GRANTING EMERGENCY MOTION TO AUTHORIZE PAYMENT OF PREPETITION WAGES
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   1               5.   To the extent the Debtors need to use cash collateral to pay the Prepetition
   2                    Obligations, the Debtors are authorized to do so subject to the conditions set forth
   3                    in the Order Regarding Debtors’ Emergency Motion for Entry of Interim Order:
   4                    (1) Authorizing Use of Cash Collateral on an Interim Basis and (2) Granting
   5                    Related Relief as entered by the Court;
   6               6.   All applicable banks and other financial institutions are authorized and directed to
   7                    receive, process, honor, and pay all checks presented for payment and to honor all
   8                    electronic payment requests made by the Debtors relating to the foregoing, but
   9                    only with respect to payroll, payroll taxes, workers’ compensation premiums and
  10                    employee reimbursable expenses;
  11               7.   As none of the Prepetition Obligations constitute “sales commission” to be paid to
  12                    any independent contractor rendering services to the Debtors, a declaration under
  13                    §507(a)(4)(B) is not necessary; and
  14               8.   The fourteen-day stay period under Bankruptcy Rule 6004(h) is hereby waived.
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  16               IT IS SO ORDERED.
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  24 Date: May 15, 2019

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                                 ORDER GRANTING EMERGENCY MOTION TO AUTHORIZE PAYMENT OF PREPETITION WAGES
4827-7446-9525.3
